Filed 12/02/19                                                     Case 19-21640                                                          Doc 185
               RELIEF FROM STAY SUMMARY SHEET
     *    *        *     INSTRUCTIONS ON FORM EDC 3-468-INST                          *    *    *
    COMPLETE ALL PORTIONS APPLICABLE TO THE RELIEF FROM STAY MOTION
    THIS IS IN THE NATURE OF A PRETRIAL STATEMENT AND IS NOT EVIDENCE.

    DEBTOR: _________________________________
            DEBORA LEIGH MILLER-ZURANICH                          CASE NO. __________________
                                                                           19-21640
    MOVANT: _________________________________
            OCRE INVESTMENT FUND 1 LLC                             DC NO. ____________________
                                                                          WW-1

    HEARING DATE/TIME: ___________________________________________________
                       December 17, 2019 at 9:30 a.m.

    RELIEF IS SOUGHT AS TO:
               ( ✔) REAL PROPERTY                     Assessor Parcel Number (APN): 48-6298-64
               (       ) PERSONAL PROPERTY            If applicable, Vehicle Identification Number (VIN):
               (       ) STATE COURT LITIGATION

    1. Address OR description of property or state court action: 30 Merlin Court, Oakland, CA 94605



    2. Movant's trust deed is a ( ✔) 1st ( ) 2nd ( ) 3rd ( ) Other:
       OR
       Leased property is ( ) Residential ( ) Non-residential Term: ( ) Month-to-Month (                            ) Other
    3. Verified appraisal filed?          _______
                                            No          Movant's valuation of property:             $______________
                                                                                                     950,000.00
    4. The following amounts are presently owing to movant for:

              PRINCIPAL                     INTEREST                      COSTS                            TOTAL

     $   617,500.00                   $   67,891.04                $   9,196.71                     $   694,587.75

    5. State identity, rank, and balance owing to other known lien holders. Use additional page V if necessary.
       Note: Loan figures as of filing of Proof of Claim No. 2-1                         $
         Note: Trustee has indicated Property will not be administered                                    $
                                                                                                          $
                                                                       TOTAL ALL LIENS                    $ 694,587.75
                                                                       DEBTOR'S EQUITY                    $ 255,412.25

    6. Monthly payment is $ 10,286.52 , of which $ 0.00                         is for impound account. Monthly late charge is $            .
    7. The last payment by debtor was received on __________________
                                                  N/A                and was applied to the payment due N/A                                 .
    8. Number of payments past due and amount: (a) Pre-petition _____ $ ____________ (b) Post-petition ____$                                .
    9. Notice of Default was recorded on ___________________.
                                          12/31/18                           Notice of sale was published on___________________________.
                                                                                                            N/A
    10. If a chapter 13 case, in what class is this claim? N/A
    11. Grounds for seeking relief (check as applicable):
               ( ) § 362(d)(1)                  (✔) § 362(d)(2)         ( ) § 362(d)(3)                 (✔) § 362(d)(4)
               (✔ ) Cause        (   ) Inadequate protection      ( ✔) Lack of equity     (    ) Lack of insurance        (✔) Bad faith
               (       ) Surrendered pursuant to Statement of Intention.          (   ) Report of No Distribution has been filed.
               (✔) Other _________________________________________________________________________________
                         Bad faith; Four unsuccessful prior cases; No payment on Loan since origination    _________.




    EDC 3-468 (Rev. 2/18)
